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                                   STATEMENT OF FACTS

        Your affiant, David Otwell, is a Task Force Officer assigned to the Federal Bureau of
Investigation, Joint Terrorism Task Force. In my duties as a JTTF-Task Force Officer, I investigate
individuals and organizations involved in domestic and international terrorism and/or the support
of it. Currently, I am tasked with investigating criminal activity in and around the Capitol grounds
on January 6, 2021. As a JTTF - Task Force Officer I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside or immediately around
the U.S. Capitol building without authority to be there, including Dova Winegeart, as described
herein.

       Following the aforementioned events at the U.S. Capitol, the FBI’s Washington Field
Office (WFO) received information from several tipsters about a subject, Dova Winegeart
(WINEGEART), who allegedly entered the U.S. Capitol grounds unlawfully on January 6, 2021.

        Tipster 1 and Tipster 2, both friends of WINEGEART, separately submitted several photos
from January 6, 2021, showing WINEGEART on U.S. Capitol grounds. Photo 1 depicts a woman
with blonde hair wearing a long, bright red peacoat with black buttons, a white hat, one black
glove, and dark rimmed glasses, who appears to be standing on U.S. Capitol grounds next to a man
in a blue jacket. In Photo 2, the same blonde-haired woman in the long red peacoat, white hat, and
black gloves appears to be swinging a long wooden pole with what appears to be pointed metal
attachments at the window of a door marked as “House of Representatives.”




                       Photo 1                                     Photo 2

        Tipsters 1 and 2 also submitted Photo 3, which depicts the same blonde-haired woman in
a bright red peacoat with black buttons and dark rimmed glasses.
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                                               Photo 3

        Law enforcement interviewed Tipster 1 and Tipster 2 on September 13, 2021. At the
interview, both tipsters positively identified WINEGEART as the blonde-haired woman in a bright
red peacoat and dark rimmed glasses in Photos 1, 2, and 3.

       Your affiant reviewed U.S. Capitol Police Closed Circuit Television (CCTV) video footage
from a camera recording the exterior of the U.S. Capitol building on January 6, 2021 around 2:30
pm EST (House of Representatives door footage), and identified what appears to be the same
blonde-haired woman in the long red peacoat, white hat, and black gloves swinging a long wooden
pole with what appears to be pointed metal attachments at the window of the House of
Representatives door, as depicted in Photos 4 and 5:




                                            Photo 4
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                                                 Photo 5

        Your affiant obtained photographs of the window of the door marked as “House of
Representatives.” The window has several cracks and holes that appear to be consistent with
damage caused by the pointed metal attachments on the wooden pole that WINEGEART swung
several times at the window.




                                                 Photo 6

        Your affiant was provided a quote from the Architect of the Capitol for repair of this
glass, which demonstrates that the cost to replace the damaged glass exceeds $1,000.
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        Your affiant also reviewed Photo 7, which is a photograph submitted by a tipster of a
blonde-haired woman in the long red peacoat, white hat, and dark rimmed glasses, consistent
with the description of the person that Tipsters 1, 2, and 3 (see below) identified as
WINEGEART, in front of the House of Representatives door. The window of the door appears
to be damaged.




                                                Photo 7

       On October 7, 2021, and on October 21, 2021, law enforcement interviewed Witness 3,
another of WINEGEART’s friends. WINEGEART had sent text messages to Witness 3 on January
7, 2021, including Photo 1 and Photo 3. Witness 3 positively identified WINEGEART in Photos
1 and 3.

       WINEGEART also sent text messages to Witness 3, such as:

       -    “Had to stay in hotel after storm of capital. It got crazy. I did shit.”

       -    “Some false stories going around. We have tons of video. A lot of pissed of Trump
            supporters. A few Antifa. Yes we are mad. Yes we want to go inside Capital. It’s our
            building. Not the governments. We are their bosses but get treated like dogs. I’m
            done with this government. It’s fight time non stop now. They asked for it.”

       -    “No I didn’t go inside couldn’t break open alone. Moved onto balcony with cops
            after. Pieces of shit.”
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       -    “I’m good. I’m sore. I’m exhausted. I feel horrible. But I’ll keep fighting. Nothing to
            loose.”

       -    “I’ll send ya videos when I can.”

       -    “Emergency broadcast system will be sounding off in near future. Then it’s go time
            for real.”

       Witness 3 reviewed the House of Representatives CCTV footage (Photos 4 and 5, above)
and positively identified the blonde-haired individual in a red peacoat and white hat walking up to
the door of the U.S. Capitol and repeatedly striking the door with a long wooden pole with metal
attachments as WINEGEART.

        On November 3, 2021, law enforcement interviewed WINEGEART and her husband Terry
Winegeart at their residence in Fairview, Oklahoma. Terry Winegeart admitted that he and
WINEGEART were present at the U.S. Capitol on January 6, 2021. Terry Winegeart reviewed the
House of Representatives door footage, and positively identified the person in the red peacoat
striking the door with a wooden pole with metal attachments as WINEGEART. WINEGEART
also admitted that she was present on the U.S. Capitol grounds on January 6, 2021.

        During the investigation, your affiant reviewed the aforementioned videos and photos
from the Capitol building on January 6, 2021. Additionally, I compared WINEGEART’s
Oklahoma driver’s license photograph with the abovementioned photos and video. Based on
your affiant’s observations of WINEGEART during the in-person interview and her driver’s
license photograph, I believe that WINEGEART is the individual in Photos 1-5 and Photo 7.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
WINEGEART violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do;
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity to,
any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions or attempts or conspires to do so;
and (4) knowingly engage in any act of physical violence against any person or property in any
restricted building or grounds. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that WINEGEART violated 40
U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to (D) willfully and knowingly engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
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of, a committee of Congress or either House of Congress, and (F) willfully and knowingly engage
in an act of physical violence in the Grounds or any of the Capitol Buildings.

        Additionally, based on the foregoing, your affiant submits that there is also probable cause
to believe that WINEGEART violated 18 U.S.C. § 1361, by willfully injuring or depredating any
property of the United States, in excess of $1,000.


                                                     Respectfully submitted,

                                                     _________________________________
                                                     Task Force Officer David M. Otwell
                                                     Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 14 day of July 2022.
                                                                      Digitally signed by
                                                                      G. Michael Harvey
                                                                      Date: 2022.07.14
                                                                      15:55:43 -04'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
